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                                 PETTY OFFENSE MINUTE SHEET
Case No.: 3:16-po-00001
Violation No(s).:   4198910 – VW13
Date: January 20, 2016


Defendant:    Brian J. Hanna                             Counsel:    -




PRESENT: Judge: Joel C. Hoppe
              Deputy Clerk: Joyce C. Jones                                    Time in court: 10:40-10:45
              Court Reporter: FTR Recording/Joyce C. Jones
              AUSA: Heather Carlton/Daniel Nadratowski – 3rd year
              Ranger: Cyr
              USPO: Lew Harmon


     Initial Appearance. Defendant advised of charges, rights and nature of proceedings.
     Defendant waives counsel; advises court wishes to proceed today without counsel.
     Defendant requests appointment of counsel.           Court grants request for appointment of counsel.
     Defendant moves for continuance. Court trial continued to ______.


DEFENDANT PLEADS:



CASE NO(S).          GUILTY           NOT GUILTY    NOLO             REMARKS

#                    -                _             _                -

#                    _                _             _                -

#                    _                _             _                -

#                    _                _             _                -




     Defendant sworn,questioned and advised of rights on plea of guilty. Government proffers/presents

evidence to support plea and rests.

     Court trial held.

Comments-
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DISPOSITION:



CASE NO(S).          GUILTY        NOT GUILTY       DISMISSED         SENTENCE

                                                                      Dismissed on motion of the Government
3:16-po-00001        _             _                X                 without prejudice

#                    _             _                _                 -

#                    _             _                _                 -

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        Government presents evidence regarding sentencing and rests.
        Defendant presents evidence regarding sentencing and rests.
        Court orders presentence report. Sentencing set for _______.
        Government moves for detention.
        Government does not oppose bond.
        Detention/Bond Hearing held.
        Defendant released on bond. Bond set at $______


Additional information:
